Case 2:05-CV-02177-SHI\/|-STA Document 41 Filed 06/27/05 Page 1 of 5 Page|D 51

 

IN THE UNITED STATES DISTRICT COURT g l C

FOR THE WESTERN DISTRICT OF TENNESSEE 05 llll

WES'I`ERN DIVISION w '
SAMUEL D. LEGGETT, et al., )
)
Plaintiff, )
)

v. ) NO. 05-2]77 Ma/An

)
DUKE ENERGY CORP., et al., )
)
Defendants. )

 

ORDER DENYING MOTION TO EXTEND DEADLINE TO ANSWER
OR OTHERWISE RESPOND TO COMPLAINT

 

Before the Court is Defendants’ Joint Motion for Extension of Time filed on J urie 17,
2005 . After due consideration, the Motion is DENIED. Defendants shall answer or otherwise

respond to Plaintiffs’ Complaint Within 30 days of service of a Complaint and Summons.

<§."'/%;'m @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: :>IM,¢€ 254 2005,_
él/

lT IS SO ORDERED.

 

' em \`\ ce
tered on the docket heat /6
en
dior?Q(a)FRGP on § §§ §

ms document
1 with Ru\e 58 an

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:05-CV-02177 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

Cannon F. Allen

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

J ames J. Webb

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/lemphis7 TN 38137

Leslie H. Spiegel

DICKSTEIN SHAPIRO MORIN & OSHINSKY, LLP
2101 L StreetNW

Washington, DC 20037

Mark Haddad

SIDLEY AUSTIN BROWN & WOOD LLP
555 West Fifth Street

Los Angeles7 CA 90013

Amy E. Tabor
BAKER BOTTS, LLP
910 Louisiana
Houston, TX 77002

John S. Wilder

WILDER & SANDERS
108 E. Court Square
Somerville, TN 38068--143

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Case 2:05-CV-02177-SHI\/|-STA Document 41 Filed 06/27/05 Page 3 of 5 Page|D 53

Michael Kass

PILLSBURY WINTHROP LLP
50 Fremont Street

San Francisco, CA 94105

Paul HoWard Morris

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Robert E. Craddock

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Noah A. Katsell

DLA PIPER RUDNICK GRAY CARY US LLP
4365 Executive Dr.

Ste. 1 100

San Diego7 CA 92121

Barbara Walls

CHANCERY COURT7 25 TH IUDICIAL DISTRICT
Fayette County Courthouse

Somerville, TN 38068

Robert B. Wolinsky

HOGAN & HARTSON L.L.P.
555 13th Street7 NW
Washington, DC 20004

Joel B. Kleinman

DICKSTEIN SHAPIRO MORIN & OSHINSKY, LLP
2101 L StreetNW

Washington, DC 20037

Heather Skinazi

SIDLEY AUSTIN BROWN & WOOD LLP
555 West Fifth Street

Los Angeles7 CA 90013

Mark R. Robeck
BAKER BOTTS, LLP
910 Louisiana
Houston, TX 77002

Case 2:O5-CV-02177-SHI\/|-STA Document 41 Filed 06/27/05 Page 4 of 5 Page|D 54

Diane Pritchard

MORRISON & FOERSTER LLP
425 Market Street

San Francisco, CA 94105--248

Douglas Tribble

PILLSBURY WINTHROP LLP
50 Fremont Street

San Francisco, CA 94105

Amy Pepke

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 3 8103--246

Shea Sisk Wellford

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

J. Gregory Copeland
BAKER BOTTS, LLP
910 Louisiana
Houston, TN 77002

Mark H. Hamer

DLA PIPER RUDNICK GRAY CARY US LLP
4365 Executive Drive

Suite 1 100

San Diego7 CA 92121

Jeffrey 1\/1. Shohet

DLA PIPER RUDNICK GRAY CARY US LLP
4365 Executive Dr.

Ste. 1 100

San Diego7 CA 92121

Steven J. Routh

HOGAN & HARTSON, L.L.P.
555 13th Street7 NW
Washington, DC 20004

Brian S. Faughnan

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

Case 2:O5-CV-02177-SHI\/|-STA Document 41 Filed 06/27/05 Page 5 of 5 Page|D 55

Glen G. Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Alan G. Crone

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/lemphis7 TN 38137

Thomas H. Brill

LAW OFFICE OF THOMAS H. BRILL
65 52 Sagamore Road

Mission Hills, KS 66208

John S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

